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 7                                (Stipulating Parties on Signature Page)
 8                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 9                                  SAN FRANCISCO DIVISION
10   In re: CATHODE RAY TUBE (CRT)                       Case No. 07-5944 SC
     ANTITRUST LITIGATION
11                                                       MDL No. 1917
     This Document Relates to:
12                                                       STIPULATION AND [PROPOSED]
     All Indirect Purchaser Actions                      ORDER REGARDING BRIEFING FOR
13                                                       MOTIONS IN LIMINE FILED BY THE
                                                         INDIRECT PURCHASER PLAINTIFFS,
14                                                       THE TOSHIBA DEFENDANTS AND THE
                                                         SAMSUNG SDI DEFENDANTS
15

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17
              WHEREAS, pursuant to the Stipulation and Order Regarding Scheduling (Doc. No. 3182),
18
     the Indirect Purchaser Plaintiffs (“IPPs”) filed nineteen motions in limine (“IPP motions in
19
     limine”)1 on February 13, 2015;
20
              WHEREAS, on February 13, 2015, the Toshiba Defendants filed four separate motions in
21
     limine (“Toshiba separate motions in limine”)2 and twelve motions in limine jointly with the other
22
     defendants (“Toshiba joint motions in limine”)3 that pertain to the IPPs;
23
              WHEREAS, on February 13, 2015, the Samsung SDI Defendants filed two separate
24

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     1
      See Doc. Nos. 3537, 3538, 3539, 3540, 3541, 3542, 3543, 3544, 3545, 3546, 3547, 3548, 3549,
26   3550, 3551, 3552, 3553, 3554 and 3555.
     2
27       See Doc Nos. 3573, 3577, 3588 and 3576.
     3
28       See Doc Nos. 3556, 3557, 3559, 3563-3, 3568, 3571, 3572, 3579, 3581, 3583, 3589, and 3592.


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 1   motions in limine4 (“Samsung separate motions limine”) and twelve motions in limine jointly

 2   with the other defendants5 (“Samsung joint motions in limine”) that pertain to the IPPs;

 3             WHEREAS, IPPs’ MIL Nos. 3 (Doc. No. 3539) and 11 (Doc. No. 3547), and Defendants’

 4   Joint MIL No. 14 (Doc. No. 3581), were resolved by stipulation dated February 27, 2015 (Doc.

 5   No. 3639);

 6             WHEREAS, SDI’s MIL No. 2 (Doc. No. 3565) was not opposed by IPPs;

 7             WHEREAS, pursuant to the Stipulation and Order Regarding Deadline for Briefing and

 8   Hearing Date for Motions in Limine (Doc. No. 3605) (the “MIL Order”), all parties filed

 9   responses to the motions pertaining to them on February 27, 2015;6

10             WHEREAS, pursuant to the MIL Order, replies in support of the motions in limine are due

11   on March 6, 2015;

12             WHEREAS, the Toshiba Defendants also filed a Motion to Strike Class Representatives

13   with Inadequate Proof of Their Individual Purchases of Televisions or Monitors (Doc. No. 3595)

14   (“Motion to Strike”);

15             WHEREAS, pursuant to the Stipulation and Order Regarding Briefing for the Toshiba

16   Defendants’ Motion to Decertify the Statewide IPP Classes for Damages and Motion to Strike

17   Class Representatives with Inadequate Proof of their Individual Purchases of Televisions or

18   Monitors (Doc. No. 3630), the IPPs’ opposition to the Motion to Strike is due on March 6, 2015

19   and the Toshiba Defendants’ reply is due on March 17, 2015;

20             WHEREAS, counsel for the IPPs, the Toshiba Defendants and the Samsung SDI

21   Defendants have met and conferred and agree that an extension of the briefing schedule on these

22   motions is appropriate and will aid in the efficient resolution of the litigation;

23             IT IS HEREBY STIPULATED AND AGREED by and between counsel for the IPPs, the

24   4
         See Doc. Nos. 3560-61, 3565.
25   5
         See fn. 3, supra.
26   6
       The IPPs and the Toshiba Defendants entered into a separate stipulation extending the briefing
     schedule for Defendants’ MIL #2 and DAP MIL #11, which became an order of the Court on
27
     February 25, 2015 (Doc No. 3631). Defendants’ MIL #2 and DAP MIL #11 are not the subject of
28   this Stipulation and Proposed Order.


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 1   Toshiba Defendants and the Samsung SDI Defendants as follows:

 2              1. The replies in support of the IPPs’ motions in limine, the Toshiba and SDI separate

 3   motions in limine, and the Toshiba and SDI joint motions in limine (as they pertain to the IPPs)

 4   may be filed no later than March 16, 2015;

 5              2. IPPs’ opposition to the Toshiba Defendants’ Motion to Strike must be filed no later

 6   than March 16, 2015;

 7              3. The Toshiba Defendants’ reply in support of their Motion to Strike may be filed no

 8   later than March 27, 2015.

 9          The undersigned parties jointly and respectfully request that the Court enter this

10   stipulation as an order.

11

12   PURSUANT TO STIPULATION, IT IS SO ORDERED.

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14          3/6/15
     Dated:___________________                         ______________________________________
                                                                   Hon. Samuel Conti
15                                                             United States District Judge
16

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19   DATED: March 4, 2015                         By: /s/
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 1   DATED: March 4, 2015
                                                 By: /s/
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 9                                               Systems, Inc., Toshiba America Consumer Products,
                                                 L.L.C., and Toshiba America Electronic
10                                               Components, Inc.
11
     DATED: March 4, 2015                        SHEPPARD MULLIN RICHTER & HAMPTON
12

13                                               By: /s/
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                                                 Counsel for Defendants Samsung SDI Co., Ltd.,
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                                                 (Malaysia) SDN. BHD., Samsung SDI Mexico S.A.
21
                                                 de C.V., Samsung SDI Brasil Ltda., Shenzen
22                                               Samsung SDI Co., Ltd., and Tianjin Samsung SDI
                                                 Co., Ltd.
23

24          Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this

25   document has been obtained from each of the above signatories.

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